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May 24, 2024

United States District Court
Clerk’s Office
700 Stewart Street, Suite 2310
Seattle, WA 98101

RE: Case No. C21-1264 MJP

Please find my statement, and attached a supporting declaration, which I am filing with the court
as a permanent record for this case.

STATEMENT FOR COURT FILES FOR CASE NO. C21-1264 MJP

I, Celia Wu, am a resident of Sammamish, Washington.

In November, 2021, Sarah Hawes Kimsey filed a lawsuit Case No. C21-1264 MJP
naming me as a defendant. At that time, I was employed as a Communications
Manager for the City of Sammamish.
Ms. Kimsey claimed that I had violated her First Amendment rights by deleting
comments she made on the City of Sammamish Facebook page.
The evidence indicated that I did not delete, nor hide her comments, and there has
been no Court decision or finding that I deleted or hid Ms. Kimsey's comments. To
clarify further, deleted comments cannot be restored, as explained in the attached
supporting declaration in the court documents from the COO of Archive Social
confirming that once a comment is deleted on Facebook, ‘it is also deleted from their
servers and backup systems so that it cannot be retrieved.'
During the case, the City of Sammamish changed its policy from being a 'limited
public forum,' and based on that action by the City, the case was settled. The
evidence supports that Ms. Kimsey's comments were never deleted or hidden by me
and are still visible on the City's page.

For the record, I am also confirming that on September 18, 2023, I served to Ms. Sarah
Hawes Kimsey a Request for Retraction, Correction, and Clarification of Defamatory
Statements Under RCW 7.96.040.

Thank you,




Celia Wu
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                                                                       HON. MARSHA J. PECHMAN
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                                 UNITED STATES DISTRICT COURT
 6                         FOR THE WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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     SARAH HAWES KIMSEY; TARUL KODE
 8   TRIPATHI; and CATHERINE                             CASE NO. 2:21-cv-01264 MJP
 9   FREUDENBERG,
                                                         DECLARATION OF ROBERT
10                                 Plaintiffs,           SYDNOR

11                   v.
12   CITY OF SAMMAMISH, a municipal
13   corporation; and CELIA WU, an individual,

14                                 Defendants.

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16          I, Robert Sydnor, declare as follows:
17          1.       I am the Chief Operating Officer at ArchiveSocial and make this declaration based
18   on my personal knowledge.
19          2.       ArchiveSocial is a cloud-based archiving and analytics company. We work with
20   public sector customers to automatically capture and preserve comments and other data on a
21   variety of social media websites. We work with the City of Sammamish to preserve the comments
22   and posts on the City’s official Facebook page.
23          3.       ArchiveSocial uses a computer program to read the data from the City’s Facebook
24   page. The program preserves comments posted on the City’s Facebook page immediately after
25   they are posted. The program periodically attempts to access known comments to ascertain
26   whether they have been hidden, edited, or deleted, applying an associated “tag” to the comment.

     DECLARATION OF ROBERT SYDNOR - 1                                    " 
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                 Case 2:21-cv-01264-MJP Document 40 Filed 05/24/24 Page 3 of 4




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 3               A “deleted” tag does not necessarily mean that the comment was actually deleted.

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15          6.        If a comment is deleted from Facebook, it is not possible for the program to

16   determine who was responsible for deleting the comment. Per Facebook’s Help Center, when a

17   comment is deleted on Facebook, it is also deleted from their servers and backup systems so that it

18   cannot be retrieved.

19   See https://www.facebook.com/help/121995105053180?helpref=search&query=recover%20delete

20   d%20post&search session id=7be4b79314e2473855db7de29f5fbd88&sr=3.

21          7.        I have reviewed our records of all of the comments posted by Sarah Kimsey on the

22   City of Sammamish’s Facebook page. Nearly all of these comments were tagged as “deleted” by

23   our program at approximately the same time. This fact suggests to me that Ms. Kimsey’s privacy

24   settings were changed, or her account was disabled at some time so as to make her comments

25   inaccessible to the public, resulting in the program tagging all of her prior comments on the City’s

26   Facebook page as “deleted.”

     DECLARATION OF ROBERT SYDNOR - 2                                      " 
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 1          8.       I have reviewed screenshots of the City’s Facebook page and understand that, with

 2   few exceptions, all of Ms. Kimsey’s comments remain accessible to the public. The time stamps

 3   on these comments as visible today matches the original date and time of posting as recorded by

 4   our program. This further suggests that Ms. Kimsey’s comments were never actually deleted from

 5   Facebook, but that the “deleted” tags were applied for some other reason, as discussed above.

 6          I declare under penalty of perjury under the laws of the State of Washington that the

 7   foregoing statements are true and correct.

 8                          October 27th
             EXECUTED on ___________________,            Durham
                                              2021, at _______________, North Carolina.

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                                                       Robert Sydnor
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     DECLARATION OF ROBERT SYDNOR - 3                                    " 
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